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     Stephen Kron
 8
 9                       UNITED STATES DISTRICT COURT
10                      CENTRAL DISTRICT OF CALIFORNIA
                        WESTERN DIVISION – LOS ANGELES
11
12   ALICE LEE and DAVID W. MARTIN, on
     behalf of themselves and all others Case No. 2:15-cv-02495-ODW-PLA
13
     similarly situated,
14
15                   Plaintiff
                                                    NOTICE OF APPEAL
16
          v.
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18   GLOBAL TEL*LINK CORPORATION,
19
                     Defendant.
20
21
22         Notice is hereby given that Steve Kron, Objector, in the above-named case,
23
     hereby appeals to the United States Court of Appeals for the Ninth Circuit from
24
25   the Minute Order [DE 203] entered on 8-20-18 granting Plaintiffs’ and Class
26   Counsels’ Motion for Settlement Approval of Class Action [DE 196] and
27
28   Attorneys Fees, Expenses and Service Awards and Order [DE 188]. We will


                                     NOTICE OF APPEAL
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 1   require transcripts. We will not request to expedite the appeal. This filing is in
 2   compliance with FRAP 27.
 3
 4
 5   DATED: September 19, 2018                    TUCKER | POLLARD
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 7
 8                                                Caroline V. Tucker, Esq.
 9                                                Attorneys for Objector
                                                  Stephen Kron
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 1                          CERTIFICATE OF SERVICE
 2   I hereby certify that a true copy of the foregoing was filed electronically via
 3   CM/ECF on September 19, 2018 and served by the same means on all counsel of
     record.
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 6                                              ___________________________
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